        Case 7:18-cv-01799-LSC Document 19 Filed 01/16/19 Page 1 of 2                     FILED
                                                                                 2019 Jan-16 PM 03:46
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       WESTERN DIVISION

ALEXIS BURT,                              )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )          7:18-cv-01799-LSC
                                          )
JAMES WILLIAM MCFARLAND,                  )
JR ., et. al,                             )
                                          )
      Defendants.                         )

                                     ORDER
      The Court acknowledges receipt of Plaintiff’s Joint Stipulation of Dismissal

as to Defendant Judson College (“Judson College”) (doc. 18) filed on January 15,

2019. Accordingly, Judson College is DISMISSED from this action WITH

PREJUDICE. Plaintiff’s state law claims against Defendant James William

McFarland, Jr. (“McFarland”) remain pending. However, since the dismissal of

Plaintiff’s claims against Judson College removes this Court’s original basis for

subject matter jurisdiction, the Court declines to exercise supplemental jurisdiction

over Plaintiff’s remaining state law claims. See 28 U.S.C. § 1367 (c)(3); Raney v.

Allstate Ins. Co., 370 F.3d 1086, 1089 (11th Cir.2004) (“We have encouraged

district courts to dismiss any remaining state claims when, as here, the federal

claims have been dismissed prior to trial.”). Therefore, Plaintiff’s claims against

                                     Page 1 of 2
        Case 7:18-cv-01799-LSC Document 19 Filed 01/16/19 Page 2 of 2




McFarland are DISSMISSED WITHOUT PREJUDICE with leave to re-file her

claims against McFarland in state court. Costs are taxed as paid.

      DONE and ORDERED on January 16, 2019.


                                             _____________________________
                                                     L. Scott Coogler
                                                United States District Judge
                                                                               195126




                                    Page 2 of 2
